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     October 27, 2023

     Via ECF

     Honorable Araceli Martínez-Olguín
     San Francisco Courthouse
     Courtroom 10- 19th Foor
     450 Golden Gate Avenue,
     San Francisco, CA 94102

     Re:    Tremblay v. OpenAI, Inc., et al., Case No. 23-cv-03223 (N.D. Cal.);
            Silverman v. OpenAI, Inc. et al., Case No. 23-cv-03416 (N.D. Cal.)

     Dear Honorable Araceli Martínez-Olguín:

     Plaintiffs’ Counsel write to inform the Court about a pre-existing
     conflict with respect to the status conference set for October 31, 2023 set
     this morning. ECF No. 61. Plaintiffs’ Counsel are presently scheduled to
     appear at an in-person hearing set for 10:00 a.m., October 31, 2023
     before the Honorable Judge Richard F. Boulware in the District of
     Nevada for the matter of Le et al. v. Zuffa, LLC, No. 15-cv-01045
     (D. Nev.).

     Plaintiffs’ Counsel have met and conferred with Counsel for Defendants
     regarding this conflict and, while Defendants take no position as to re-
     setting the status conference, Defendants have confirmed that the
     parties are available instead at 10:00 a.m. on November 8, 2023.

     Due to Plaintiffs’ Counsel prior conflict, Plaintiffs respectfully request
     the Court to re-set the status conference presently scheduled for 10:00
     a.m. on October 31, 2023 to 10:00 a.m. on November 8, 2023.Sincerely,

     /s/ Joseph R. Saveri

     Joseph R. Saveri

     cc: All Counsel (via ECF)
